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     s                        UNITED STATES DISTRICT COURT
     9                       CENTRAL DISTRICT OF CALIFORNIA
 10

 li       UNITED STATES OF AMERICA,               Case No. ~ IL -Q l~3 ~- ~C7-~ - l7
 12
                            Plaintiff,
 13                                               ORDER OF DETENTION AFTER
                v.                               HEARING
 14
                                                 [Fed.R.Crim.P. 32.1(A)(6);
 15                                              18 U.S.C. § 3143(A)]
                     Sc~ch~e,
 16                           ~1
                            Defendant.
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19             The defendant having been arrested in this District pursuant
                                                                               to a warrant
2o       issued by the United States District Court for the ~,~~~~,~ ~
                                                                       ~i,~)~~ ,~ Ca~~/~t}
21       for alleged violations} of the terms and conditions of
                                                                        his/her [Fre er]
22 [supervised release]; and
23             The Court having conducted a detention hearing pursuant to
                                                                            Federal Rule of
24       Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
25             The Court finds that:
26       A.   ~     The defendant has not met his/her burden of establishing by
                                                                                 clear and
2~            convincing evidence that he/she is not likely to flee if relea
                                                                             sed under 1S
28            U.S.C. § 3142(b)or (c). This finding is based on sd~       -Lvia~~-tom
Case 2:12-cr-01135-RGK Document 1515 Filed 10/19/21 Page 2 of 2 Page ID #:11277




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  3                                  diM~

  4         ari~Or

  s   B.   ()     The defendant has not met his/her burden of establishing by clear and
  6         convincing evidence that he/she is not likely to pose a danger to the safety of
  ~         any other person or the community if released under 18 U.S.C. § 3142(b) or
  s         (c). This finding is based on:
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 13         IT THEREFORE IS ORDERED that the defendant be detained pending the
 14   further revocation proceedings.
 15

 i6   Dated:   ~'~~/q/3dy ~
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 is
                                                                     ~~`~
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                                                    ALEXANDER F. MacKINNON
 2o                                             UNITED STATES MAGISTRATE JUDGE
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